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                             Exhibit A
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                           UNITED STATES DISTRICT COURT
                           EASTERN DISTRICT OF LOUISIANA
                               NEW ORLEANS DIVISION

IN RE: FEMA TRAILER FORMALDEHYDE              *      MDL NO. 07-1873
PRODUCTS LIABILITY LITIGATION                 *
                                              *      SECTION “N” (5)
                                              *
                                              *      JUDGE: ENGELHARDT
THIS DOCUMENT IS RELATED TO ALL CASES *
                                              *      MAG: CHASEZ
******************************************************************************

                  NOTICE OF VIDEOTAPED FEDERAL RULE 30(b)(6)
                 DEPOSITION OF THE FORMALDEHYDE COUNCIL, INC.


To:    Betsy Natz                                 To:    CT Corporation System
       Executive Director                                Registered Agent for:
       Formaldehyde Council, Inc.                        Formaldehyde Council, Inc.
       801 N. Quincy Street, Suite 700                   4701 Cox Road, Suite 301
       Arlington, VA 22203                               Glen Allen, Virginia 23060


       PLEASE TAKE NOTICE that Plaintiff, Elisha Dubuclet on behalf of Timia Dubuclet,

pursuant to Rule 30(b)(6) of the Federal Rules of Civil Procedure, will take the video-taped

deposition of one or more officers, directors, managing agents, or other persons designated

by the FORMALDEHYDE COUNCIL, INC., as most knowledgeable concerning the issues

listed on Exhibit A. The deposition will take place on Wednesday, November 25, 2009

beginning at 10:00 AM at LAD-Merrill Reporting, 1325 G Street, North West, 2nd Floor,

Washington D.C. 20005, (800) 292-4789, or as otherwise agreed upon. The deposition will

continue from day to day thereafter, weekends and holidays excluded, until complete. The

deposition will be taken before a Notary Public or other officer authorized to administer

oaths under the law. You are invited to attend and examine the witnesses if you so desire.

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You are requested to designate and identify each officer, director, managing agent, or other

persons who will testify on behalf of the Formaldehyde Council, and to set forth, for each

person designated, the matters on which the person will testify. Deponent is further

requested to bring to the deposition all documents, communications, and/or videos

reviewed or consulted in preparation for the deposition.

        Plaintiff reserves the right to record the deposition stenographically, as well as by

videotape, audiotape, and live note. The deposition is being taken for the purposes of

discovery, for use at trial, or for all other purposes as are permitted under the Federal

Rules of Civil Procedure.

                             INSTRUCTIONS AND DEFINITIONS

1.      Documents responsive to this document request, attached as Exhibit B, shall be
        produced at the offices of Lambert & Nelson, PLC, 701 Magazine Street, New
        Orleans, LA, 70130, no later than seven (7) days after receipt of the subpoena.

2.      “You” and its various forms, such as “your” and “yourself”, shall mean the
        Formaldehyde Council Inc. and all present and former agents, employees,
        representatives, attorneys, custodian of records, and all other persons acting on
        behalf of such person, including, but not limited to, deponent, its divisions, parents,
        subsidiaries, related companies or corporations, predecessors, successors, and all
        present and former officers, directors, agents, employees, representatives, and
        attorneys, and all other persons acting or purporting to act on behalf of deponent.

3.      “Documents” shall mean or refer to all written or graphic matter of every kind of
        description, however, produced or reproduced, whether draft or final, original or
        reproduction, and all tangible things within the scope of Federal Rule of Civil
        Procedure 30(b)(6), specifically including, but not limited to: writings, graphs,
        charts, photographs, satellite and/or radar imagery, telephone records, data
        compilations (from which information can be obtained, translated, if necessary, by
        the respondent through detection devices into reasonably usable form), letters,
        correspondence, e-mail communications, memoranda, minutes, notes, contracts,
        agreements, books, diaries, time sheets, laboratory books, logs, bulletins, circular,
        notices, rules, regulations, prospects, directions, teletype messages, inter-office
        communications, intra-office communications, reports, company worksheets, credit

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        files, evidence of indebtedness, negotiable instruments, telegrams, mailgrams,
        books, news releases, newspapers, magazines, advertisements, periodicals,
        pamphlets, sketches, drawings, statements, reports, articles of incorporation, by-
        laws, directives, minutes of meetings, balance sheets, income and loss statements,
        profit and loss statements, inventories, operating budgets, accounting worksheets,
        financial accounts, bills, vouchers, bank checks, proposals, offers, orders,
        acknowledgments, receipts, invoices, checks, working papers, telephone messages
        (whether written or recorded), notebooks, post cards, evaluations,
        recommendations, annual reports, confirmations, leases, analyses, feasibility or
        market studies, disbursement requests or orders, charts, graphs, indices,
        projections, forms, data sheets, data processing discs, or readable computer-
        produced interpretations thereof, booklets, articles, manuals, speeches,
        stenographic notes, maps, studies, tests, surveys, cables, tape and disc recordings
        (both audio and video), blueprints, containers, cartons, package labels, slides, audit
        reports, tender offers or invitations, personal interviews, and summaries, abstracts,
        compilations or paraphrases of any of the foregoing, or material similar to any of the
        foregoing, however denominated, which are in the possession, custody or control of
        the party upon whom this subpoena and/or request for production of documents is
        served or to which said party can obtain access. The subpoena and/or request for
        production of documents calls for originals, unless otherwise specified, and for all
        copies when originals are not available. If a document has been prepared in several
        copies, or additional copies have been made and the copies are not identified (or by
        reason of subsequent modification of the copy by additions or notations, or other
        modifications, are no longer identical), each non-identical copy is a separate
        “document.”

4.      With respect to the production of any documents which are claimed to be privileged,
        a statement shall be provided by the attorneys for the respondent setting forth as to
        each such documents (and, where applicable, each attachment thereto):

           a.     the name of the sender, if any, of the documents;
           b.     the name of the author of the document;
           c.     the name of the person, if any, to whom the document and copies were
                  sent;
           d.     the date of the document;
           e.     the date on which the document was received by those having possession
                  of the document;
           f.     a description of the nature and the subject matter of the document;
           g.     the statute, rule or decision which is claimed to give rise to the privilege;
           h.     the last-known custodian of the document and the present location of the
                  document;
           i.     attachments to the document;
           j.     the number of pages comprising the document;

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           k.     whether the document is handwritten, typewritten or otherwise
                  prepared; and,
           l.     any other information which is useful in identifying or is necessary to
                  identify the document.

5.      Whenever appropriate, the singular form of the word shall be interpreted in the
        plural and vice versa.

6.      All words and phrases shall be construed as masculine, feminine, or neutral gender
        according to the context.

7.      “And” as well as “or” shall be construed either disjunctively as necessary to bring
        within the scope of the subpoena and/or request for production of documents any
        matters which might otherwise be construed to be outside of the scope of the
        subpoena and/or request for production of documents.

8.      “Identify” with regard to a natural person, means to provide the name, last known
        address, last known telephone number; whether ever employed by you, and if so,
        dates of employment, descriptions and/ or title of each position held, and the
        reasons for termination; and, current employer and/or last known employer and
        position held.

        “Identify,” with regard to a corporation, means to provide the name of the entity
        along with its primary business address and telephone number.

        “Identify,” with regard to documents or other inanimate objects, means to provide the
        date, author, address, number of pages, subject matter, custodian of the document,
        and location of the document.

9.      Describe or Specify means the following:

           a.     to offer a detailed description of the thing sought including where
                  appropriate, to identify the thing;

           b.     to set forth the matter which you are asked to “describe” or “specify”, and
                  do so fully in detail, by reference to underlying facts rather than reference
                  to ultimate facts or conclusion of fact and law;

           c.     to state particulars as to (I) time and (ii) place;

           d.     “Identify” the “person” participating, present or involved at any time; and

           e.     to set forth all facts necessary to a complete understanding of the “fact”,

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                process, or thing in questions.

10.   “FEMA” means the Federal Emergency Management Agency and includes the
      Department of Homeland Security and any governmental or other related agency.

11.   “THU” means Temporary Housing Units and is defined as travel trailers, mobile
      homes, park model homes or any similar type of housing provided by FEMA.

12.   “Formaldehyde” means formaldehyde and/or all formaldehyde based resins.

13.   “Database” means a digital file or systematically arranged collection of computer
      data, structured so that it can be automatically retrieved, searched and sorted, such
      as an Excel spreadsheet, CSV spreadsheet, a comma delimited file or any other
      digital document that is in an electronic searchable format.


THIS DEPOSITION IS NOT FOR RECORDS ONLY


                                  Respectfully submitted:


                                  FEMA TRAILER FORMALDEHYDE
                                  PRODUCT LIABILITY LITIGATION


                                  BY:    s/Gerald E. Meunier
                                         GERALD E. MEUNIER, #9471
                                         PLAINTIFFS’ CO-LIAISON COUNSEL
                                         Gainsburgh, Benjamin, David, Meunier &
                                         Warshauer, L.L.C.
                                         2800 Energy Centre, 1100 Poydras Street
                                         New Orleans, Louisiana 70163
                                         Telephone: 504/522-2304
                                         Facsimile:   504/528-9973
                                         gmeunier@gainsben.com




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                                          s/Justin I. Woods
                                          JUSTIN I. WOODS, #24713
                                          PLAINTIFFS’ CO-LIAISON COUNSEL
                                          Gainsburgh, Benjamin, David, Meunier &
                                          Warshauer, L.L.C.
                                          2800 Energy Centre, 1100 Poydras Street
                                          New Orleans, Louisiana 70163
                                          Telephone: 504/522-2304
                                          Facsimile:    504/528-9973
                                          jwoods@gainsben.com


                                          COURT-APPOINTED PLAINTIFFS’
                                          STEERING COMMITTEE
                                          ANTHONY BUZBEE, Texas # 24001820
                                          RAUL BENCOMO, #2932
                                          FRANK D’AMICO, #17519
                                          MATT MORELAND, #24567
                                          LINDA NELSON, #9938
                                          MIKAL WATTS, Texas # 20981820
                                          ROBERT BECNEL, # 14072
                                          DENNIS REICH, Texas # 16739600



                               CERTIFICATE OF SERVICE

      I hereby certify that I have served a copy of the above and foregoing Notice of
Deposition upon all counsel of record by placing same in the United States mail, properly
addressed and with first-class postage, or by facsimile or other electronic transmission on
November 13, 2009.


                                          ____/s/ Raul Bencomo________
                                          Raul Bencomo, #2932




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                                     EXHIBIT A

1. All communications between the Formaldehyde Council and Philip Cole, M.D.

2. All contracts between the Formaldehyde Council and Philip Cole, M.D.

3. All compensation paid by the Formaldehyde Council to Philip Cole, M.D.

4. All communications between the Formaldehyde Council and James Wedner, M.D.

5. All contracts between the Formaldehyde Council and James Wedner, M.D.

6. All compensation paid by the Formaldehyde Council to James Wedner, M.D.

7. All communications between the Formaldehyde Council and Michael Ginevan.

8. All contracts between the Formaldehyde Council and Michael Ginevan.

9. All compensation paid by the Formaldehyde Council to Michael Ginevan.

10. All communications between the Formaldehyde Council and Jack Mandel.

11. All compensation paid by the Formaldehyde Council to Jack Mandel.

12. All contracts between the Formaldehyde Council and Jack Mandel.

13. All communications between the Formaldehyde Council and any expert or consultant
    hired by or retained by the Formaldehyde Council.

14. All compensation paid by the Formaldehyde Council to any expert or consultant
    hired by or retained by the Formaldehyde Council.

15. All contracts between the Formaldehyde Council and any expert or consultant hired
    by or retained by the Formaldehyde Council.

16. All compensation paid by the Formaldehyde Council to any expert hired by
    defendants in the FEMA, product liability litigation, MDL No. 1873 pending in the
    United States District Court for the Eastern District of Louisiana.

17. All papers sponsored or supported by the Formaldehyde Council whether or not the
    final version of such papers has been published.

18. All interactions and/or communications between the Formaldehyde Council and the
    United States Environmental Protection Agency concerning health risks of
    formaldehyde.

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19. All interactions and/or communications between the Formaldehyde Council and the
    State of California concerning health risks of formaldehyde.

20. All interactions and/or communications between the Formaldehyde Council and the
    Federal Emergency Management Agency concerning formaldehyde emissions from
    THUs.

21. All interactions and/or communications between the Formaldehyde Council and the
    National Academy of Science concerning a risk assessment of formaldehyde.

22. All interactions and/or communications between the Formaldehyde Council and the
    National Cancer Institute, concerning its study of the cancer risks of formaldehyde.

23. All reports from panels, whether or not independent or sponsored by the
    Formaldehyde Council, concerning the National Cancer Institute’s study of the cancer
    risks of formaldehyde.

24. All videos sponsored, made, and/or ordered by the Formaldehyde Council
    concerning the health risks of formaldehyde.

25. The purpose or mission statement of the Formaldehyde Council.

26. Contributors to the funding of the Formaldehyde Council since 2000.

27. The membership of the Formaldehyde Council since 2000.

28. All research funded or sponsored by the Formaldehyde Council concerning the
    health risks of formaldehyde.

29. All publications distributed by the Formaldehyde Council.

30. All interactions and/or communications between the Formaldehyde Council and
    Fleetwood Canada, Ltd., concerning formaldehyde emissions from the trailers it
    manufactured.

31. All interactions and/or communications between the Formaldehyde Council and
    Fleetwood Enterprises, Inc., concerning formaldehyde emissions from the trailers it
    manufactured.

32. All interactions and/or communications between the Formaldehyde Council and
    Fleetwood Homes of North Carolina, Inc., concerning formaldehyde emissions from
    the trailers it manufactured.

33. All interactions and/or communications between the Formaldehyde Council and
    Forest River, Inc., concerning formaldehyde emissions from the trailers it
    manufactured.
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34. All interactions and/or communications between the Formaldehyde Council and Gulf
    Stream Coach, Inc., Incorporated, concerning formaldehyde emissions from the
    trailers it manufactured.

35. All interactions and/or communications between the Formaldehyde Council and
    Keystone Industries, Inc., concerning formaldehyde emissions from the trailers it
    manufactured.

36. All interactions and/or communications between the Formaldehyde Council and
    Keystone RV Company, concerning formaldehyde emissions from the trailers it
    manufactured.

37. All interactions and/or communications between the Formaldehyde Council and
    Recreation By Design, LLC, concerning formaldehyde emissions from the trailers it
    manufactured.

38. All lobbying efforts by the Formaldehyde Council.

39. All studies, case reports, documents and communications pertaining to alleged
   injuries due to exposure to formaldehyde in your possession since the creation of the
   Formaldehyde Council, Inc.




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                                   EXHIBIT B
                               DOCUMENT REQUEST

 1. The CV of each individual designated as a person most knowledgeable as to any
    issue listed on Exhibit A.

 2. All correspondence between the Formaldehyde Council and Philip Cole, M.D.

 3. All contracts between the Formaldehyde Council and Philip Cole, M.D., including, but
    not limited to, all records of compensation paid to Philip Cole, M.D.

 4. All correspondence between the Formaldehyde Council and James Wedner.

 5. All contracts between the Formaldehyde Council and James Wedner, including but
    not limited to, all records of compensation paid to James Wedner.

 6. All correspondence between the Formaldehyde Council and Jack Mandel, including,
    but not limited to, all papers, manuscripts or commentaries written by Jack Mandel
    at the request of the Formaldehyde Council or sponsored by the Formaldehyde
    Council.

 7. All contracts between the Formaldehyde Council and Jack Mandel, including, but not
    limited to, all records of compensation paid to Jack Mandel.

 8. All correspondence between the Formaldehyde Council and any expert or
    consultant hired by or retained by the Formaldehyde Council.

 9. All contracts between the Formaldehyde Council and any expert or consultant hired
    by or retained by the Formaldehyde Council.

 10. All correspondence between the Formaldehyde Council and any expert hired by the
     Defendants in the FEMA Formaldehyde Products Liability Litigation, MDL No 1873
     in the United States District Court for the Eastern District of Louisiana.

 11. All contracts between the Formaldehyde Council and any expert hired by the
     Defendants in the FEMA Formaldehyde Products Liability Litigation, MDL No 1873,
     in the United States District Court for the Eastern District of Louisiana.

 12. All correspondence between the Formaldehyde Council and the United States
     Environmental Protection Agency concerning health risks of formaldehyde.

 13. All correspondence between the Formaldehyde Council and the State of California
     concerning health risks of formaldehyde.

 14. All correspondence between the Formaldehyde Council and the FEMA concerning
     formaldehyde emissions from trailers.
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 15. All correspondence between the Formaldehyde Council and the National Academy
     of Science concerning a risk assessment of formaldehyde.

 16. All correspondence, between the Formaldehyde Council and the National Cancer
     Institute, concerning its study of the cancer risks of formaldehyde.

 17. All reports from panels, whether or not independent or sponsored by the
     Formaldehyde Council, concerning the National Cancer Institute’s study of the
     cancer risks of formaldehyde.

 18. All videos sponsored, made, or ordered by the Formaldehyde Council concerning the
     health risks of formaldehyde, including, but not limited to, all outtakes of such
     videos.

 19. All documents relating to the purpose and/or mission statement of the
     Formaldehyde Council.

 20. All documents relating to contributors to the funding of the Formaldehyde Council
     since 2000.

 21. All documents listing the membership of the Formaldehyde Council since 2000.

 22. All mailing lists of members and/or potential members maintained by the
     Formaldehyde Council since 2000.

 23. All documents relating to research funded or sponsored by the Formaldehyde
     Council concerning the health risks of formaldehyde.

 24. All publications, manuscripts or articles funded by sponsored by or written at the
     request of the Formaldehyde Council whether or not such manuscripts or articles
     have been published.

 25. All studies, papers, reviews or commentaries supported, sponsored or funded in any
     way by the Formaldehyde Council related to Formaldehyde, including, but not
     limited to, all drafts and documents completed or authorized for release, publication
     or public dissemination of said documents.

 26. All correspondence between the Formaldehyde Council and any of the
     manufacturing entities listed on Exhibit A in Items 30-37.

 27. All studies, case reports, documents and communications pertaining to alleged
     injuries due to exposure to formaldehyde in your possession since the creation of
     the Formaldehyde Council, Inc.



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 28. All advertisements for the Formaldehyde Council published in any media outlet
     since 2000.

 29. All public relations materials disseminated by or on behalf of the Formaldehyde
    Council.

 30. The by-laws of the Formaldehyde Council since 2000.

 31. All documents related to litigation in which the Formaldehyde Council was a party.

 32. All documents related to providing expert witnesses to testify as to the health
     effects of formaldehyde in any litigation in which the Formaldehyde Council was not
     a party.

 33. All documents related to lobbying activities by the Formaldehyde Council.

 34. All documents related to the appointment or nomination of officers of the United
     States Environmental Protection Agency dated within the last two years.

 35. All unpublished scientific studies in the custody or control of the Formaldehyde
     Council.

 36. All correspondence between the Formaldehyde Council and Agency for Toxic
     Substances and Disease Registry and/or the Center for Disease Control.

 37. All documents and/or transcripts relating to testimony by a representative of the
     Formaldehyde Council before any Congressional Committee and/or other
     regulatory agency.

 38. All “White Papers” or educational presentations prepared by or for the
     Formaldehyde Council relating to the health effects of formaldehyde.




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